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                                                           July 17, 2024
By ECF
The Honorable Maryellen Noreika
United States District Judge
U.S. District Court for the District of Delaware
844 N. King Street
Wilmington, Delaware 19801

        Re: United States v. Robert Hunter Biden, Criminal Action No. 23-cr-61-MN

Dear Judge Noreika:

           Pursuant to the Court’s Oral Order, ECF 248, the government writes to advise that it
does not object to the unsealing of the motion at ECF 167, which was filed under seal consistent
with the practice in this District. As to the latter request, the letter incorrectly states that the expert
disclosure of Michael Waski is a judicial record. However, his disclosure was never filed with the
Court because the defendant agreed that the information derived from his laptop was authentic.
Therefore, the expert disclosure was not included as an exhibit for ECF 120 because the
certification itself sufficiently supported the motion. Moreover, since there was no dispute about
the authenticity of the information derived from the defendant’s laptop, the government did not
call Mr. Waski as an expert witness at trial. Accordingly, the expert disclosure is not a judicial
record and is not a record before this Court that the Court could unseal.

                                                       Respectfully submitted,
                                                       DAVID C. WEISS
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                                                 By:
                                                       _____________________________________

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